5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA               Doc 22-6     Filed
                                                                            8:09-bk-11124    05/11/23
                                                                                          - Jeffrey Scott Beier Entered    05/11/23
                                                                                                                (Bankr.C.D.Cal.)           15:00:50
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                                                                              Exhibit 6 Page 1 of 8


   Printed on May 11 2023 5:03 pm


                                                                     8:09-bk-11124 - Jeffrey Scott Beier

                                                                                                                              Docket Header Last Updated: 5/11/2023 3:00 pm

                                                                                                                                          DISMISSED, PRVDISCH, CLOSED


                                                                              U.S. Bankruptcy Court
                                                                Central District of California (Santa Ana)
                                                                Bankruptcy Petition #: 8:09-bk-11124-TA
                                                                                                                                  Date filed: 02/11/2009
     Assigned to: Theodor Albert                                                                                        Date terminated: 01/29/2010
     Chapter 13                                                                                                        Debtor dismissed: 10/01/2009
     Voluntary                                                                                                                341 meeting: 03/26/2009
     Asset
     Show Associated Cases
     Claims Register




     Debtor disposition: Dismissed for Other Reason

     Debtor                                                                                                    represented by Adam B Arnold
     Jeffrey Scott Beier                                                                                                      Law Offices of Adam B Arnold
     27881 La Paz Rd #G321                                                                                                    PO Box 19100



https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                       Exhibit 6            1/8
5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA            Doc 22-6     Filed
                                                                         8:09-bk-11124    05/11/23
                                                                                       - Jeffrey Scott Beier Entered    05/11/23
                                                                                                             (Bankr.C.D.Cal.)           15:00:50
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                                                                           Exhibit 6 Page 2 of 8

     Laguna Niguel, CA 92677-3933                                                                                                San Diego, CA 92159
     ORANGE-CA                                                                                                                   619-599-3303
     SSN / ITIN: xxx-xx-0875                                                                                                     Fax : 619-559-8002
     aka Jeff Beier                                                                                                              Email: ababkfirm@gmail.com
     aka Jeffrey Beier                                                                                                           TERMINATED: 02/20/2009

                                                                                                                                 Michael G Doan
                                                                                                                                 Michael G. Doan Attorney at Law
                                                                                                                                 1930 S Coast Hwy Ste-206
                                                                                                                                 Oceanside, CA 92054
                                                                                                                                 760-450-3333
                                                                                                                                 Fax : 760-720-6082
                                                                                                                                 Email: mike@doanlaw.com


                                                                                                                                 Kristin R Lamar
                                                                                                                                 New Chapter Law Group
                                                                                                                                 5927 Balfour Court, Suite 115
                                                                                                                                 Carlsbad, CA 92008
                                                                                                                                 760-579-0036
                                                                                                                                 Fax : 888-579-8770
                                                                                                                                 Email: nclgign@hotmail.com


     Trustee
     Amrane (SA) Cohen (TR)
     770 The City Drive South Suite 3700
     Orange, CA 92868




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5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA                     Doc 22-6     Filed
                                                                                  8:09-bk-11124    05/11/23
                                                                                                - Jeffrey Scott Beier Entered    05/11/23
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                                                                                    Exhibit 6 Page 3 of 8

     714-621-0200


     U.S. Trustee
     United States Trustee (SA)
     411 W Fourth St., Suite 7160
     Santa Ana, CA 92701-4593
     (714) 338-3400



     Date Filed           #      Docket Text



     02/11/2009            1     Chapter 13 Voluntary Petition . Fee Amount $274 Filed by Jeffrey Scott Beier (Arnold, Adam) (Entered: 02/11/2009)


     02/11/2009            2     Chapter 13 Plan Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/11/2009)


     02/11/2009            3     Rights and responsibilities agreement between chapter 13 debtors and their attorneys Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/11/2009)



     02/11/2009            4     Certificate of Credit Counseling Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/11/2009)


     02/11/2009            5     Statement of Social Security Number(s) Form B21 Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/11/2009)


     02/11/2009            7     Meeting of Creditors with 341(a) meeting to be held on 03/26/2009 at 11:00 AM at RM 1-154, 411 W Fourth St., Santa Ana, CA 92701. Confirmation hearing to be held on
                                 04/28/2009 at 01:30 PM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA 92701. Proof of Claim due by 06/24/2009. (Arnold, Adam) (Entered: 02/11/2009)


     02/11/2009                  Receipt of Voluntary Petition (Chapter 13)(8:09-bk-11124) [misc,volp13] ( 274.00) Filing Fee. Receipt number 7218483. Fee amount 274.00. (U.S. Treasury) (Entered:
                                 02/11/2009)


     02/12/2009            6     Declaration Re: Electronic Filing Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/12/2009)


     02/12/2009            8     Declaration RE Tax Returns (Preconfirmation) Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/12/2009)




https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                                           Exhibit 6                  3/8
5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA                    Doc 22-6     Filed
                                                                                 8:09-bk-11124    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
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     Date Filed           #      Docket Text



     02/12/2009            9     Declaration RE: Payment of Domestic Support Obligations Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/12/2009)


     02/13/2009           10     Substitution of attorney Filed by Debtor Jeffrey Scott Beier. (Arnold, Adam) (Entered: 02/13/2009)


     02/14/2009           11     BNC Certificate of Notice (RE: related document(s)7 , Meeting (AutoAssign Chapter 13)) No. of Notices: 26. Service Date 02/14/2009. (Admin.) (Entered: 02/14/2009)



     03/04/2009           13     Request for Courtesy Notice of Electronic Filing (NEF) Filed by Edward T Weber on behalf of Courtesy NEF. (Weber, Edward) (Entered: 03/04/2009)


     03/16/2009           14     Request for courtesy Notice of Electronic Filing (NEF) Filed by R G Pagter on behalf of Courtesy NEF. (Pagter, R) (Entered: 03/16/2009)


     03/17/2009           15     Trustee's Notice to the debtor(s) that the case may be dismiss or converted at the confirmation hearing (batch) . (Cohen, Amrane) (Entered: 03/17/2009)


     03/26/2009           16     Adversary case 8:09-ap-01252. Complaint by Plaintiff Jeffrey Scott Beier against Defendants Mortgage Electronic Registration Systems Inc (MERS) , Countrywide Home Loans
                                 Inc , Countrywide Home Loans Servicing LP , Wells Fargo Document Custody . Receipt Number o, Fee Amount $250 Nature of Suit: (14 (Recovery of money/property - other)) ,
                                 (72 (Injunctive relief - other)) (Shimizu, Tina) (Entered: 03/26/2009)


     04/06/2009           19     Proof of service Filed by Debtor Jeffrey Scott Beier (RE: related document(s)2 Chapter 13 Plan). (Hanavan, Dorothy) (Entered: 04/15/2009)



     04/08/2009           17     Objection to Confirmation of Plan Filed by Creditor Countrywide Home Loans Servicing, LP (RE: related document(s)2 Chapter 13 Plan Filed by Debtor Jeffrey Scott Beier.).
                                 (Attachments: 1 Exhibit A2 Exhibit B3 Exhibit C)(Weber, Edward) (Entered: 04/08/2009)


     04/14/2009           18     Notice of Payment Amount, proof of service Filed by Creditor CZ Master Association. (Katz, Neil) (Entered: 04/14/2009)


     04/28/2009                  Hearing Continued (RE: related document(s)2 Chapter 13 Plan filed by Debtor Jeffrey Scott Beier) Confirmation hearing to be held on 6/23/2009 at 02:00 PM at Crtrm 5B, 411
                                 W Fourth St., Santa Ana, CA 92701. (Ngo, Kim) (Entered: 04/29/2009)


     05/11/2009           20     Notice of Hearing continuance for plan confirmation Filed by Debtor Jeffrey Scott Beier; The Hearing date is set for 6/23/2009 at 02:00 PM at Crtrm 5B, 411 W Fourth St, Santa
                                 Ana CA 92701. The case judge is Theodor Albert (Hanavan, Dorothy) (Entered: 05/18/2009)


     05/11/2009           21     Proof of service Filed by Debtor Jeffrey Scott Beier Re # 20, (Hanavan, Dorothy) (Entered: 05/18/2009)




https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                                             Exhibit 6                          4/8
5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA                    Doc 22-6     Filed
                                                                                 8:09-bk-11124    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
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     Date Filed           #      Docket Text



     06/01/2009           22     Motion to Dismiss Adversary Proceeding , Memorandum of Points and Authorities in Support Filed by Creditor Countrywide Home Loans Servicing, LP (Logan, Jana)
                                 CORRECTION: Filed in incorrect case. Attorney needed to file this document in the Adversary case. See Case #8:09-01252-TA. Modified on 6/2/2009 (Bustillos, Denise).
                                 (Entered: 06/01/2009)


     06/01/2009           23     Notice of motion/application to Dismiss Adversary Proceeding Filed by Creditor Countrywide Home Loans Servicing, LP (RE: related document(s)22 Motion to Dismiss Adversary
                                 Proceeding , Memorandum of Points and Authorities in Support Filed by Creditor Countrywide Home Loans Servicing, LP filed by Creditor Countrywide Home Loans Servicing,
                                 LP). (Logan, Jana) CORRECTION: Filed in incorrect case. Attorney needed to file this document in the Adversary case. See case# 8:09-1252-TA. Modified on 6/2/2009 (Bustillos,
                                 Denise). (Entered: 06/01/2009)


     06/01/2009           24     Notice of motion/application to Strike Punitive and Exemplary Damages Filed by Creditor Countrywide Home Loans Servicing, LP. (Logan, Jana) CORRECTION: Filed in incorrect
                                 case. Attorney needed to file this document in the Adversary case. See case# 8:09-01252-TA. Modified on 6/2/2009 (Bustillos, Denise). (Entered: 06/01/2009)


     06/01/2009           25     Notice to creditors - Notice Rescheduling the Hearing for Confirmation of Plan; The hearing will now be held on 6/24/2009 at 2:00 p.m. (BNC-PDF) (Ngo, Kim) (Entered:
                                 06/01/2009)


     06/01/2009           26     Motion to Strike Punitive and Exemplary Damages, Memorandum of Points and Authorities in Support Filed by Creditor Countrywide Home Loans Servicing, LP (Logan, Jana)
                                 CORRECTION: Filed in incorrect case. Attorney needed to file this document in the Adversary case. See case# 8:09-01252-TA. Modified on 6/2/2009 (Bustillos, Denise).
                                 (Entered: 06/01/2009)


     06/01/2009           27     Proof of service Filed by Creditor Countrywide Home Loans Servicing, LP (RE: related document(s)22 Motion to Dismiss Adversary Proceeding , Memorandum of Points and
                                 Authorities in Support, 23 Notice of motion/application, 24 Notice of motion/application, 26 Motion to Strike Punitive and Exemplary Damages, Memorandum of Points and
                                 Authorities in Support). (Logan, Jana) (Entered: 06/01/2009)


     06/03/2009           28     BNC Certificate of Service - PDF Document. (RE: related document(s)25 Notice to creditors (BNC-PDF)) No. of Notices: 36. Service Date 06/03/2009. (Admin.) (Entered:
                                 06/03/2009)


     06/24/2009                  Hearing Continued (RE: related document(s)2 Chapter 13 Plan filed by Debtor Jeffrey Scott Beier) Confirmation hearing to be held on 7/28/2009 at 02:00 PM at Crtrm 5B, 411
                                 W Fourth St., Santa Ana, CA 92701. (Ngo, Kim) (Entered: 06/24/2009)


     06/25/2009           29     Notice of order re continued confirmation hearing from 6/24/09 at 2:00 p.m. to 7/28/09 at 2:00 p.m. in courtroom 5B; Filed by Michael G Doan Attorney for Debtor Jeffrey Scott
                                 Beier (RE: related document(s)2 Chapter 13 Plan ; Filed by Debtor Jeffrey Scott Beier.). (Deramus, Glenda) (Entered: 07/07/2009)


     06/29/2009           30     Proof of service Filed by Debtor Jeffrey Scott Beier . (Deramus, Glenda) (Entered: 07/07/2009)




https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                                            Exhibit 6                           5/8
5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA                     Doc 22-6     Filed
                                                                                  8:09-bk-11124    05/11/23
                                                                                                - Jeffrey Scott Beier Entered    05/11/23
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     Date Filed           #      Docket Text



     07/10/2009           31     Motion to Disallow Claims of Countrywide Home Loans Servicing, L.P. Filed by Debtor Jeffrey Scott Beier (Lamar, Kristin) CORRECT JUDGE INITIALS: TA - Modified on
                                 7/10/2009 (Hanavan, Dorothy) (Entered: 07/10/2009)


     07/10/2009           32     Notice of motion/application Filed by Debtor Jeffrey Scott Beier (RE: related document(s)31 Motion to Disallow Claims of Countrywide Home Loans Servicing, L.P. Filed by
                                 Debtor Jeffrey Scott Beier). (Lamar, Kristin) (Entered: 07/10/2009)


     07/10/2009           33     Motion to Disallow Claims of Pagter and Miller Filed by Debtor Jeffrey Scott Beier (Lamar, Kristin) CORRECT JUDGE INITIALS: TA - Modified on 7/13/2009 (Hanavan, Dorothy)
                                 (Entered: 07/10/2009)


     07/10/2009           34     Notice of motion/application Filed by Debtor Jeffrey Scott Beier (RE: related document(s)33 Motion to Disallow Claims of Pagter and Miller Filed by Debtor Jeffrey Scott Beier).
                                 (Lamar, Kristin) (Entered: 07/10/2009)


     07/10/2009                  Hearing Set (RE: related document(s)31 Motion to Disallow Claim Countrywide Home Loans Servicing L P (Cl #1 for $1,653,385.75) filed by Debtor Jeffrey Scott Beier) The
                                 Hearing date is set for 8/25/2009 at 02:00 PM at Crtrm 5B, 411 W Fourth St, Santa Ana, CA 92701. The case judge is Theodor Albert (Hanavan, Dorothy) (Entered:
                                 07/10/2009)


     07/10/2009                  Hearing Set (RE: related document(s)33 Motion to Disallow Claims filed by Debtor Jeffrey Scott Beier) The Hearing date is set for 8/25/2009 at 02:00 PM at Crtrm 5B, 411 W
                                 Fourth St., Santa Ana, CA 92701. The case judge is Theodor Albert (Ngo, Kim) (Entered: 08/19/2009)


     07/24/2009           35     Amended Complaint to Quiet Title and Seeking Monetary Damages, Statutory Damages, Punitive Damages, Injunctive Relief, and Declaratory Relief by Kristin R Lamar on behalf
                                 of Jeffrey Scott Beier against Countrywide Home Loans Servicing, LP.(Lamar, Kristin) CORRECTION: FILED IN WRONG CASE; Attorney to re-file document in ADV 8:09-ap-
                                 01252-TA - Modified on 7/27/2009 (Hanavan, Dorothy) (Entered: 07/24/2009)


     07/24/2009           36     Proof of service of First Amended Complaint Filed by Debtor Jeffrey Scott Beier (RE: related document(s)35 Amended Complaint). (Lamar, Kristin) (Entered: 07/24/2009)


     07/27/2009           37     Notice of intent to pay claims . (Cohen, Amrane) (Entered: 07/27/2009)


     07/28/2009                  Hearing Continued (RE: related document(s)2 Chapter 13 Plan filed by Debtor Jeffrey Scott Beier) Confirmation hearing to be held on 9/22/2009 at 02:00 PM at Crtrm 5B, 411
                                 W Fourth St., Santa Ana, CA 92701. (Ngo, Kim) (Entered: 08/03/2009)


     08/11/2009           38     Response to (related document(s): 33 Motion to Disallow Claims of Pagter and Miller filed by Debtor Jeffrey Scott Beier) by Pagter and Miller to Debtor's Objection to its Claim
                                 No. 2; Declaration in Support with proof of service Filed by Creditor Pagter and Miller (Pagter, R) (Entered: 08/11/2009)




https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                                               Exhibit 6                          6/8
5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA                      Doc 22-6     Filed
                                                                                   8:09-bk-11124    05/11/23
                                                                                                 - Jeffrey Scott Beier Entered    05/11/23
                                                                                                                       (Bankr.C.D.Cal.)           15:00:50
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     Date Filed           #      Docket Text



     08/14/2009           39     Notice of Continued Confirmation Hearing Filed by Debtor Jeffrey Scott Beier . The Hearing date is set for 9/22/2009 at 02:00 PM at Crtrm 5B, 411 W Fourth St., Santa Ana, CA
                                 92701. The case judge is Theodor Albert (Bustillos, Denise) (Entered: 08/19/2009)


     08/14/2009           40     Proof of service of Notice of Continued Status Conference Filed by Debtor Jeffrey Scott Beier . (Bustillos, Denise) (Entered: 08/19/2009)


     08/21/2009           41     Reply to (related document(s): 38 Response filed by Creditor Pagter and Miller) Filed by Debtor Jeffrey Scott Beier (Lamar, Kristin) CORRECT Related Motion 13 - Modified on
                                 8/21/2009 (Hanavan, Dorothy) (Entered: 08/21/2009)


     08/21/2009           42     Declaration re: Jeffrey Scott Beier in support of reply to response by Pagter and Miller to Debtor's Objection to its Claim No. 2 Filed by Debtor Jeffrey Scott Beier (RE: related
                                 document(s)41 Reply). (Lamar, Kristin) CORRECT Related Motion 33 - Modified on 8/21/2009 (Hanavan, Dorothy) (Entered: 08/21/2009)


     08/21/2009           43     Proof of service 1. Declaration of Jeffrey Scott Beier in support of reply to response by Pagter and Miller to Debtor's claim, 2. Reply to response by Pagter and Miller to Debtor's
                                 objection to its Claim No. 2 Filed by Debtor Jeffrey Scott Beier (RE: related document(s)41 Reply, 42 Declaration). (Lamar, Kristin) CORRECT Related Motion 33 - Modified on
                                 8/21/2009 (Hanavan, Dorothy) (Entered: 08/21/2009)


     08/25/2009                  Hearing Continued (RE: related document(s)31 Motion to Disallow Claims filed by Debtor Jeffrey Scott Beier) The Hearing date is set for 9/10/2009 at 11:00 AM at Crtrm 5B,
                                 411 W Fourth St., Santa Ana, CA 92701. The case judge is Theodor Albert (Ngo, Kim) (Entered: 08/27/2009)


     08/25/2009                  Hearing Held (RE: related document(s)33 Motion to Disallow Claims filed by Debtor Jeffrey Scott Beier) - OBJECTION OVERRULED - (cr: Reid) (Ngo, Kim) (Entered: 08/27/2009)


     09/04/2009           46     Order on Objection to Claim No. 2 filed by Pagter and Miller; This Claim is allowed in the amount of $9,202.02 (Related Doc # 33) - Signed on 9/4/2009. (This Order was
                                 officially entered on 9/4/2009 and was docketed in the wrong case: 8:07-12347-TA as Doc. # 207 ) (I, deputy clerk who is making this entry, certify that service on all parties
                                 under Section II was completed, Ngo, Kim) (Entered: 09/14/2009)


     09/07/2009           44     Request for courtesy Notice of Electronic Filing (NEF) Filed by Ramesh Singh on behalf of Courtesy NEF. (Singh, Ramesh) (Entered: 09/07/2009)


     09/10/2009           45     Hearing Held (Bk Motion) (RE: related document(s) 31 Motion to Disallow Claims) - MOTION DENIED - (cr: Bust) (Ngo, Kim) (Entered: 09/10/2009)


     09/22/2009                  Hearing Held (RE: related document(s)2 Chapter 13 Plan filed by Debtor Jeffrey Scott Beier) - CASE DISMISSED - (cr: Bust) (Ngo, Kim) (Entered: 09/30/2009)


     10/01/2009           47     ORDER and Notice of dismissal arising from chapter 13 confirmation hearing - Debtor Dismissed. (BNC) (Ngo, Kim) (Entered: 10/01/2009)




https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                                                  Exhibit 6                           7/8
5/11/23, 5:04 PM                    Case 8:23-bk-10898-TA                    Doc 22-6     Filed
                                                                                 8:09-bk-11124    05/11/23
                                                                                               - Jeffrey Scott Beier Entered    05/11/23
                                                                                                                     (Bankr.C.D.Cal.)           15:00:50
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     Date Filed           #      Docket Text



     10/03/2009           48     BNC Certificate of Service (RE: related document(s)47 ORDER and Notice of Dismissal arising from Ch 13 Conf. Hrg. (BNC)) No. of Notices: 39. Service Date 10/03/2009.
                                 (Admin.) (Entered: 10/03/2009)


     11/05/2009           49     Notice of Intent to File Trustees Final Report and Account - Chapter 13 Dismissed/Converted . (Cohen, Amrane) (Entered: 11/05/2009)


     12/23/2009           50     Declaration re: non-receipt of obj to trustee's final report (Dismissed/Converted Chapter 13 Cases) Filed by Trustee Amrane Cohen. (Cohen, Amrane) (Entered: 12/23/2009)


     12/23/2009           51     Chapter 13 Trustee's Final Report and Account . (Cohen, Amrane) (Entered: 12/23/2009)


     12/23/2009           52     Proof of service Filed by Trustee Amrane Cohen (RE: related document(s)51 Chapter 13 Trustee's Final Report and Account (batch)). (Cohen, Amrane) (Entered: 12/23/2009)


     12/29/2009           53     ORDER discharging chapter 13 panel trustee and exonerate bond liability. (Bolte, Nickie) (Entered: 01/14/2010)


     01/29/2010           54     Bankruptcy Case Closed - DISMISSED (Allen, Gloria) (Entered: 01/29/2010)




https://v2.courtdrive.com/cases/pacer/cacbke/8:09-bk-11124/dockets                                                                                                          Exhibit 6                       8/8
